*1,, CaS€ 8-18-72971-38'[ DOC 12 Filed 05/15/18

UNITED STATES BANKRUPTCY COURT

EASTERN DISTRICT OF NEW YQRK
' r~v r.'m(

Ent€red 05/15/18 13244: 4

In re: L'~ '

    

!\)Dw’r 151/1th ’m»¢er

_111-¢11‘,)1@'{0§‘-"-

Debtor(s) ~'”’ 4 w z

lj.lCi xii

Case No. j/i(</?LH;_??'/

Chapter 7

* _-:‘* r_,_,` ,.`..1,¢~:"

\\'

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. l
AFFIDAVIT PURSUANT TO LOCAL RULE 1007-1(b) f

NQLMMundersigned debtor herein, swears as follows:

 

 

l. Debtor filed a petition under chapter7 Aof the Bankruptcy Code on MM l \) 'LQL g
4 2. Schedule(s) A'J were not filed at the time of filing of the said petition, and is/ are being§filed herewith.
i
43. [Check_applicable box]: f

The schedules filed herewith reflect no additions or corrections to, or deletions from, [the list of` creditors

which accompanied the petition.

>
f
l

[l Annexed hereto is a listing of names and addresses of` scheduled creditors added to or deleted from the list
of` creditors which accompanied the petition. Also listed, as applicable are any scheduled creditors whose
previously listed names and/or addresses have been corrected. The nature of the change (addition, deletion

or correction) ls indicated f`or each creditor listed.

l

4. [If creditors have been added] An amended mailing matrix is annexed hereto listing added credito1s ONLY, in the

format prescribed by Local Rule 1007- 3.

Reminder:'No amendment of schedules is effective until proof of service in accordance with EDNYiBR 1009-1(b) has

been filed with the Court.

Any additions to the list of creditors which accompanied the petition will be deemed an amendment to that list; if this
amendment 1s filed prior to the expiration of` the time period set fo1th 1n Fed. R. Bankr. P. 4004 and 4007, it will be deemed
to constitute a motion for a 30- -day extension of` the time within which any added creditors may file a colmplaint to object to
the discharge of` the debtor and/or to determine dischargeability This motion will be deemed granted without a hearing if
no objection is filed with the Court and served on debtor within 14 days following filing of` proof` of` service of this

affirmation, all attachments and the amended schedules in accordance with EDNY LRB 1009-1.

aea/a

Dated: f 25 ll il gp §§

Debtor (signature)

Sworn to before me this
day of , 2011

 

Notary Public, State of New York

USBC - .64

,1 ,.

Rev. 11/1/11

 

CaS€ 8-18-72971-38'[ DOC 12 Filed 05/15/18

Fill in this information to identify your case:

ol,Fl-Fz,lZ/a%)+

Firsl Name

FJAQ;¢§L

Last Name

Deb10r1 l

Middle Name

 

Debtor 2
(Spouse, if filing) Firsl Name

United States Bankruptcy Court for the: mg District of 19 z
Case number ?’ l Y’ q'Z.qq' l

( |f know'n)

 

Middle Name Last Name

 

Official Form 1068um

 

Summary of Your Assets and Liabilities and Certain Statistica| lnformation

Ent€l’ed 05/15/18 13244:44

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El !check if this lé an
‘amended Hling

12/15

 

 

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Be as complete and accurate as possible. |f two married people are filing together, both are equally responsible for supplying correct
information. Fil| out all of your schedules first; then complete the information on this form. lf you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this pfe.

m Summarlze Your Assets

1_ Schedule A/B: Property (Official Form 106A/B)

1a. Copy line 55, Total real estate. from Schedule A/B ..........................................................................................................
1b. Copy line 62, Total personal properly, from Schedule A/B ...............................................................................................

1c. Copy line 63, Total of all property on Schedule A/B .........................................................................................................

1
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l
m

Summarlze Your Llablllt|es

2. Schedule D: Creditors Who Have C/aims Secured by Properfy (Official Form 106D)

2a. Copy the total you listed in Co|umn A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............

3. Schedule E/F: Creditors Who Have Unsecured Claims (Ofticia| Form 106E/F)

3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................................

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................

m Summarize Your lncome and Expenses

1 4. Schedule/:Yourlncome(OfficialForm106l)
Copy your combined monthly income from line 12 of Schedule l ..........................................................................................

z 5. Schedule J: Your Expenses (Ofticial Form 106J)
Copy your monthly expenses from line 220 of Schedule J ....................................................................................................

Your total liabilities

l
Your assets
Va|ue of what you own

l

f .

 

 

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l
l
Your liabilities

Amount /c:u'ov(l:e®£{,,£ yg

 
 

 

 

 

 

 

 

 

 

Ochial Form 1068um

Summary of Your Assets and Liabilities and Certain Statistica| information

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l page 1 of2

 

 

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'l

Debtor1 O_LF' r1 é~ Case number (lrl<nuwm §§ ’) X _ F?'Z-? lq' l

Flrsl Name Middle Name Last Name

mnswer These duestlons for Admlnlstratlve and Statlstlcal Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

eS

l
l

g/No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules
Y

 

7. What kind of debt do you have?

Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal.
family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-99 for statistical purposes. 28 U.S.C. § 159.

this form to the court with your other schedules.

l
l
l
l
l

n Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit

 

 

8. From the Statement of Your Current Monthly lncome: Copy your total current monthly income from Official
Form 122A-1 Line 11; OR, Form 122B Line 11; ORl Form 1220-1 Line 14.

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

 

 

 

 

 

Total claim
From Part 4 on Schedule E/F, copy the following:
/

9a. Domestic support obligations (Copy line Ga.) $

9b. Taxes and certain other debts you owe the government (Copy line 6b.) 5
' 9c. C|aims for death or personal injury while you were intoxicated. (Copy line 6c.) $
l
i
!_ 9d. Student loans. (Copy line 6f.) $
; 9e. Obligations arising out of a separation agreement or divorce that you did not report as $
v priority claims. (Copy line 69.)
§ 9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line Sh.) + $
l Sg. Total. Add lines 93 through 9f. $
l
l

 

Official Form 1068um Summary of Your Assets and Liabi|ities and Certain Statistical information

page 2 of 2

 

 

 

 

Case 8-18-72971-ast

Fili in this information to identify your case and this filing:

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newa M_¢E/ng.e~&ari
FlrstName lddle ama

Debtor 2

DOC 12 Filed 05/15/18 Entel’ed_ 05/15/18 13244:44

'IEM

Last Name

 

(Spouse, if tillng) Flrst Name

United States Bankruptcy Court for the: M_ District of Q\_/_‘

Middle Name

Case number ig / \_ g f q/,Z£!`j»

 

Last Name

l_`

] Check if this is an

 

m Describe Each Resldence, Bulldlng, Land, or other Real Estate You Own or l-lave an interest ln l

-;1 c. \,»..,, _~».(..,,,d.t..~,d.,_,~..,,..

 

_ Official Form 106A/B

 

amended filing

 

Schedule AlB: Property z 12/15

 

ln each category, separately list and describe items. List an asset only once. if an asset fits in more than one category, |ist§the asset in the _
category where you think it fits best. Be as complete and accurate as possible. if two married people are filing together, both are equally
responsible for supplying correct information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question. l .

 

1. Do you own or have any legal or equitable interest ln any residence, building, iand, or similar property?

El uo. eo to Part 2.
Yes. Where is the property?

l:ii@ '\l\)\c'OW-aoe deep

Street address, if available, or other description

 

 

if you own or have more than one, list here:

/r_

1.2.

 

Street address, if available, or other description

 

 

City

State

Z|P Code

 

County

1
1

   

l

' §

wh/a*t' he propel ry z Check all that app|y' § Do not deduct secured claims or exemptions Put §
Single~family home v ;- ,th_`e amount of any- secured claims on Schedule D:

n Dup|ex or mum_unit building §., Creditars Who Have Claims Secured by Property.

cl Condominium or cooperative

Current value of the Current value of the §

 

l:l Manufactured or mobile home entire P|’OP€|'¢¥? P°l't'°n y°u °Wn? *
El Land ‘:,'t 1 ' ' 4
n investment property a _,'l,/ _ " '-' 1 - 1 ,

[| Timeshare ` Describe the nature of your ownership

n Other interest (such as fee lsimple; tenancy by

 

the entireties, or a life estate), if known.

iS-l:tylas'an interest in the property? Checkone. ._,Y- ij A ) §§ di .C
1 v\ ' .l. , l_ l j _

Debtor 1 only § § _

n Check if this is chmmunity property
(see instructions)

 

n Debtor 2 only
l:l Debtor1 and Debtor2 only
a At least one of the debtors and another

Other information you wish to add about this item, such as local
property identification number:

 

l
l
l .,…. .

what ls the property? Check all tha‘ app|y' ill Do not deduct secured claims or exemptrons Put

the amount of any secured claims on Schedule D:
Creditors` Who Have Clair`ns Secured by Pmperty.

n Sing|e-fami|y home

n Dup|ex or multi-unit building
m Condominium °" cooperative Current value of the l Current value of the
n Manufactured or mobile home '»entire property? portion you own?
m Land $ $

n investment property _1
m Ti m e sh a r e l)escribe the nature of_your ownership

interest (such as feelslmp|e, tenancy by
n Othe" - the entireties, or a life estate), if known.

Who has an interest in the property? Check one.
n Debtor1 only |
El Debtor2 only l _

n Debtor1 and Debt°" 2 only n Check if this is community property
l;l At least one of the debtors and another (See instructions) `

 

v-; *.~_1_ _l..

 

 

 

Other information you wish to add about this item, such as local
property identification number: l l

 

 

Official Form 106A/B

Schedule AlB: Property f page 1

Case 8-18-72971-ast

 

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1

 

Case number (rknown) $;’/i g ’”q'dq,q'//

 

  

Debtor 1
What l$ the Pl'°Pe|'ty? Check all lhal aPPlV- _: Do not deduct secured claims or exemptions Put §
l - - ' '_'“,the amount of any secured claims on Schedule D.'
§ 1.3. n Smgle_fam"y homer `i§:Creditors Who Have Clai`ms Secured by Property

 

i
§

 

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§
m
17

 

Street address, if available, or other description

 

 

 

entire ro e ortion ou own? §
’ i:l Manufactured or mobile home p p ny? § lp y §
n Land $ l $ "
cl investment property D §f hi
- . escribe the nature o your owners p
C“y State Z|P Code n Tlmeshare interest (such as fee §simpie, tenancy by
l:l Other the entireties, or a life estate), if known. 5
Who has an interest in the property? Check one, ;
n Debtor1 only §
County 1

Describe Your Vehicles

ill Dupiex or muiii-unii‘ building
i:i Condominium or cooperative

 

n Debtor 2 only
El Debtor1 and Debtor2 only
i:l At least one of the debtors and another

Other information you wish to add about this item, such as local

property identification number:

 

Current value of the § Current value of the

 

 

l
cl Check if this is community property
(see` instructions) l '

 

2. Add the dollar value of the portion you own for ali of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that number here. ...................... _ ................................................................ -)

 

. §
D;).¢:i

 

 

 

 

l Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles -
you ownl that someone else drives. if you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

i:l o § §
Yes §

 

   

 

3.1. Make: ‘/. \! Wh° has an lntel`est ln the Pl'°Pel`lly? Check °ne- ‘ Do not deduct secured claims or exemptions Put
/. , , D bt°r 1 °n| the amount of any secured claims on Schedule D: §
Modei: l 1 e y Creditors Who Hava` Clai'ms Secured b Property
`~ ` ' n Debtor2 only ~~ =<N » -
Yee'"- [:| Debtor1 and Debt°r 2 only Current value of the Current value of the §

entire property? portion you own? 5

i:l At least one of the debtors and another

§ Approximate mileage: \§@_Q@

Other information:

 

i:l Check if this is community property (see ‘ $ /0 OO' 00/7 $ / 000 ab
1

instructions)

 

 

 

\
§ if you own or have more than one, describe here: §
.. §
§ §` ' ” ` ‘” ' "’ "" ' '

3.2. Make: who has an interest in the Pl'°Pel'ty? Check °ne- Do not deduct secured ci`aims or exemptions Put
the amount of any secured claims on Schedule D: `
§ MOde|Z n Debt°r 1 only Creditors Who H`ave Clai’ms Secured by_ Property.

§ Y El oebtor 2 oniy ‘~~'~»~`~» ~ »» -~ … » W b ~~»r -~» ~»~»'» ~»
-` ear:

current value of the Current value of the§

n Debtor1 and Debtor 2 only entire property?

1 ortion ou own? §
cl At least one of the debtors and another p y `i

Approximate mileage:

Other information:

 

n Check if this is community property (see
instructions)

 

 

 

Official Form 106A/B Schedule AlB: Property l page 2

 

Debtor 1

3.3.

3.4.

4.2.

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Case 8-18-72971-ast

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Case number (irimawn) ‘ g" l g ` qb?q"'{

 

Who has an interest in the property? Check one.

irs`t Name Middle Name
Make:
Mode|; cl Debtor1 only
n Debtor 2 only
Year:

Approximate mileage:

Other information:

 

 

 

 

Make:
Mode|:

Year:

Approximate mileage:

Other information:

 

 

 

 

v 0
cl Yes
4_1_ Make:
Mode|:
Year:

Other information:

 

 

 

 

if you own or have more than one, list here:

Make:
Modei:
Year:

Other information:

 

 

 

 

El Debtor1 and Debtor2 oniy
n At least one of the debtors and another

n Check if this is community property (see
instructions)

Who has an interest |n the property? Check one
n Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

El Check if this is community property (see
instructions)

4, Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
?ples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
N

Who has an interest ln the property? Check one.

n Debtor1 only

cl Debtor 2 only

El Debtor1 and Debtor 2 only

n At least one of the debtors and another

l:l Check if this is community property (see
instructions)

Who has an interest |n the property? Check one.

n Debtor1 only

El Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

[;l Check if this is community property (see
instructions)

"' 5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here

 

 
 

.. Do not deduct secured claims or exemptions Put
:_ _the amount of any secured claims on Schedule D:
{.. Creditors Who Have Clai'_rhs Secured by Properly.

 

Current value of the Current value of the
entire property? portion you own?

     

iii Do n_ot deduct secured claims or exemptions. Put '
the amount of any secured claims on Schedule D: §
'. Credi'tors Who Have Clai'ms Secured by Property.
Current value of the . Current value of the
entire property? § portion you own?

 

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~,`_,S'Do not deduct secured claims or. exemptions Put _ § -

“ the amount of any secured claims on Schedule D.'

reditors Who Hav_e C/ai`ms Secured by Property.

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-».4

 

Do not deduct secured claims or exemptions Put
j,; the amount of any secured claims on Schedule D.'
ii Creditars Who Have Claims Secured by Property.

Current value of the . Current value of the`§
entire property? § portion you own?
$ $

 

_t» t W_-_`;
Current value of the Current value of the
entire property? portion you own?

 

-)

 

 

 

Official Form 106A/B

Schedule AlB: Property

page 3

 

m Describe Your Personal and I-lousehold items :

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_ 10. Fireanns

_ 11.C|othes

13. Non-farm animals

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Debtor1 |\I w EIJM l LLA=Q£ gas Case number (ifimowni ga tx " q'? eq l `

Fiist Name Middle Name Last Name

 

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` current vaiue di!`_the_

» t Do you ow_n or have any'le`ga| or equitable interest~in' anyof the folloviiingiitems? `“ ‘ "`:» ' v '§ >. v j _; ,p°".ir°n you own?

 

Do not deduct secured claims §

°' °’»‘°.".‘P.‘FR.“? :' ,, ;
6. Househoid goods and furnishings '
Examples: Major appliances, furniture, |inens, china, kitchenware

 

DNO , 7 __ _ ' `_W q \,'_M( § _` § l
MDescribe ......... KWM/ Mm'//"*$)c<j~${ mMiW\b/LD UQS§)/O{A/`BA"\‘};|/KM/dz/: l‘ $ :` 3,'{19¢§>0.@¢5 )4

 

 

 

7. Electronics §

Examples: Te|evisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music l
collections; electronic devices including cell phones, cameras,l media players, games -

 

ci § . _, ,
zi)¢'° Descan __________ wiij ;oM/ri/ weave/epe oil’.Uj->i‘/i@ peak

 

 

 

 

8. Co||ectibies of value

Examples: Antiques and figurines; paintings, prints, or other aitwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabi|ia, collectibles ;

d No 1
l:l Yes. Describe .......... f ,‘- \ .= '» ' $ `»

 

 

 

 

. l

9. Equipment for sports and hobbies §

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes '
and kayaks; carpentry tools; musical instruments

No _ v t
n Yes. Describe .......... $

 

 

 

 

Exa piés: Pistols, rifles, shotguns, ammunition, and related equipment
,,Ei}~°
n Yes. Describe .......... $;

 

 

 

 

Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

n o ' ' » ‘ ~' / ` " i '~\ )/' trw ""
/{E%es. Describe .......... lg\\/‘EV\HD/"] Q»LOWM,)§)M€$/) 7/4'€05'555@€§) ' ~ » ;'-'~:

 

 

 

 

 

12.Jewelry !

Examples: Everydayjewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver j

ElNo

 

 

 

M.nes¢.ibe ___________ COS"'DM€GE\¢)EW»§) Sl'i-\/iz’c/WQ€LF¢ $_M

 

 

 

Examples: Dogs, cats, birds, horses
,/
No
n Yes. Describe ........... $

 

 

 

 

 

14.Any other personal and household items you did not already llst, including any health aids you did not list i
., y NO
El Yes. Give specific x _ $ § we 1
information. ..............

 

 

 

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached

 

 

 

for Part 3. Write that number here -)

 

 

Official Form 106A/B Schedule AlB: Property

 

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Debtor1 M_MM /i`M@L./ Case number (ifknown) $" IX "?7 6 q'/
Fiist Name Middle Name Last Name l

m Describe Your Flnanclal Assets

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Do you own-or have any legal or§eguitabie`interest` lnny of the following?`: ' ""_Cu""_ehf' Va_l¥!e`¢?f the-
§ . , _ ~. ~ - ` ‘ , » '; . v , . . \por"ion you ovii,$n?-. ';_ ~
§ ADo not deduct se
§ ~ or exemptions,
§ 16. Cash *
: Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
§ /U/Yes Cash: .ZCZD.._¢.... $ I530 O,.D_'
17. Deposits of money _
` Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credittunions, brokerage houses, §
and other similar institutions. if you have multiple accounts with the same institution, list each. ,
§ ci §
l %:s ..................... institution name: ; i
17.1. Checking account CM'/~\’$S' SA"»)K»/ $IM ' 9 §
17.2. Checking account: $_l §
17.3. Savings account: $_
17.4. Savings account: $ § i
v . l §
l i ~f
§ 17.5. Certifioates of deposit $ §
§
17.6. Other financial account: $ l §
17.7. Other financial account: $
17.8. Other financial account $ §
17.9. Other financial account: $ ' §
18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
n No § §
§ yes ................. institution or issuer name:
., :“ ,` \ ' > § § ~\ t \ § `- \ § '
{‘>00,/¥~ anita s »! i. mt `@P. g
$ 1
z $_ l §
19. Non-pub|iciy traded stock and interests ln incorporated and unincorporated businesses, including an interest in
an LL_C, partnership, and joint venture §
, _` No Name of entity: % of ownership: §
m Yes. Give specific O% % $ §
information about 0°/ 4 j
§ them o % $
§ °% % $ §
'
3 §
§ i
l ; z
Official Form 106A/B Schedule AlB: Property page 5

 

 

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irst Name Middie Name t Name

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Debtor 1 - /" /yl_/ § Case number (irknown) §;" § g 1 q'?/‘l',?/
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_,.,_,. .,_._,. ._…. ..». .,,,_......._,..`.i........ t

 

 

 

 

 

  
  

 

 

 

 

z §

§ 20. Govemment and cdrporate bonds and other negotiable and non-negotiable instruments ‘ §

§ Negotiable instruments include personal checks, cashiers' checks, promissory'notesl and money orders.

Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them. g
§§° §

Yes. Give specific issuer name: §
information about _ ,
them ....................... $ »

§ $ §

§ § i

§ $ , §

s

§ : §

21. Retirement or pension accounts §

§ Examples: interests in iRA, ERiSA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans §

ci W/ § §

§ Yes. List each _ '

` account separateiy. _ Type of account: institution name: t §

g ~ _ .

401(k) or similar plan: QM i i$é~iJL.

§ Pension plan: / i ' - » T -' g Zl'» ,./

§ iRA:

§ Retirement account:

§ Keogh:

Addi\iionai account

 

Additionai account:

 

 

22. Security deposits and prepayments §
Your share of ali unused deposits you have made so that you may continue service or use from a company ‘

Examples: Agreements with iandiords, prepaid rent, public utilities (eiectric, gas, water), telecommunications §
companies, or others §

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

No

cl Yes .......................... institution name or individuai: §
Electric: $ ‘ :

Gas: $ j §

Heating oi|: $ §
Secun'ty deposit on rental unit: $ §
§ Prepaid rent: $ §
§ Teiephone: $ §
§ Water: $_ §
z Rented tumiture: $_ §
§ ’ 1
5Other: $ § §
§ 23.Annu' ie/s (A contract for a periodic payment of money to you, either for life or for a number of years) ‘ § §
§ l:l Yes ................. issuer name and description: §
- $-__

thcia| Form 106A/B Schedule AlB: Property ` page 6

 

CaS€ 8-18-72971-&8'[ DOC 12 Filed 05/15/18 Entei’ed 05/15/18 13244:44

§
3
i

Case number (irknawn) z ’ ' Y “?Zq`q’/

Debtor 1

 

24. lnterests' in an education lRA, in an account in a qualified ABLE program, or under a qualified state tuition program.

26u .c. §§ 530(b)(1), 529A(b), and 529(b)(1). § § ~
1 . n

Yes """"""""""""""""""" lnstitution name and description. Separate|y file the records of any interests.11 U.S.C. § 521 (c):

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

    

 

 

 

 

$
$_
$\
a
25. Trusts, equitable or future interests ln property (other than anything listed |n line 1), and rights or powers :
§ exer isable for your benefit ;
1 No v §
§ ' l:l Yes. Give specific §
information about them.... ~ $'
§
§ 26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Exam Ie/s: lntemet domain names, websites, proceeds from royalties and licensing agreements
No
n Yes. Give specific l
information about them.... $’
§
, 27. Licenses', franchises, and other general intangibles §
Exa les: Building perrnits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses §
No l
m Yes. Give specific §
information about them.... $f
_ Money or property owed to you? _ ,Current valu§ of the_.
' _ » § portion you own?
§ . ' . Do not deduct secured
_ ’ ` 1 claims or exemptions
28.Tax efunds owed to you §
§ %io .
~ n Yes. Give specific information Federal:
about them, including whether
you already filed the returns . State: ,
and the tax years. ....................... ' .
Local: $ i
29. Fami|y support
v Exa les: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
§ v No _
El Yes. Give specific information ..............
A|imony: $_
‘ Maintenance: $_
§ ’ Support: $i
g l
§ Divorce settlements $'
Property settlement $§
§ 30. Other amounts someone owes you _
§ . Exa les: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation, '
§ Socia| Security benefits; unpaid loans you made to someone else §
§ n Yes Give specifc information ...............
$_
`i

 

Official Form 106A/B Schedule AIB: Property page 7

 

 

CaS€ 8-18-72971-&8'[ DOC 12 Filed 05/15/18 Entei’ed 05/15/18 13244:4§4

Case number (irimowni j'/§ g / q'z»:q q“/ l

 

_.. ....._.) .,/..._.._s.,.n,.,,-,.....s.._.~`.,,...,...ew_.._h.,.,....~-..,

l
§ 31. interests in insurance policies §
Exam es: Hea|th, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance §

No §
in Yes. Name the insurance company Company name: Benenciary; su§m=,nder or refund value:
of each policy and list its value. § .~
§
l

$
s §
- §
32. Any interest in property that is due you from someone who has died ‘

lf you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive §
pro rty because someone has died. §
1

,. No
§;l Yes. Give specific information ..............

 

 

 

 

§ 33. C|aims against third parties, whether or not you have filed a lawsuit or mad`e a demand for payment

/EE);YI&'£: Accidents, employment disputes, insurance claims, or rights to sue
i
No

|Il Yes. Describe each ciaim. ....................

 

 

 

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights

to se claims
vNo § §

n Yes. Describe each ciaim. . ...................
$

 

 

 

 

§ 35.Any fin ial assets you did not already list

 

No
§;l Yes. Give specific information ............ s

 

 

 

 

§ 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached - _
for Part 4. Write that number here ') _ ' $ '

 

 

 

 

wucribe Any Buslness-Related Froperty You own or Have an interest ln. List any real §estate in Part 1.

 

§ syran or have any legal or equitable interest in any business-related property? ` ;

 

’No. Go to Pan 6.
El¥es.GotolineSS.' §§ §§ §
Currentvalueof.tiie ~ § `
portlon»yoi_.i own? ' . §
§§jo not deductsecured claims- § `
9'_€§‘.?'§‘°,§§9? v § ‘ §
f
§
l

* SSEZVO/nts receivable or commissions you already earned §
No _ §

‘ n Yes. Describe ....... §

 

 

 

 

 

 

 

 

§ 39. Office equipment, furnishings, and supplies § §
§ Exa/yl,es:‘l§usiness-related computers, software, modems, printersl copieis, fax machines, rugs, telephones, desks, chairs, electronic devices § §
§ , No t
t f ;.
§ U Yes. Describe ....... §$

 

Official Form 106A/B Schedule AlB: Property page 8

 

 

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Debtor1 No(_,p\/ Fj/| 71§'6@§'§ iMA-€/{( @-/ Case number ()r)mawn) 31 13 /?"l?q'/
Fust Name' Middle Name La§t Name 1
§

§ ,

§ 40.Mach_in l , tixtures, equipment, supplies you use in business, and tools of your trade §

§ `;~"" .

§ §:i Yes. Describe ....... §§

_: 41.lnve t ry

§ , No §

§ l:l Yes. Describe ....... §$__

§

 

 

42/.|\r\2t¢:Y/tsin partnerships orjoint ventures

 

§
§

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

No
§ m Yes. Describe ....... Name of enmy: % of ownership: §
§ 7 % $ §
% $ §
% $ §
§
g 43.Cust mer‘|ists, mailing lists, or other compilations §
§ n Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
l:l No §
§ n Yes. Describe ........ §
z $ §
§ l
§
§ 44.Any b 'ness-related property you did not already list §
§ /pa\? l
§ n Yes. Give specific $ §
* information ......... §
$'
$
s
s
$,
45. Add the dollar value of ali of your entries from Part 5, including any entries for pages you have attached $ § 59 O.' 539
§ for Part 5. Write that number here _ -) _'°‘__; - ~
§

Describe Any Farm- and Commerciai Fishlng-Related Property You own or Have an interest in.
if you own or have an interest in fannland, list it in Part 1.

 

M:§YG own or have any legal or equitable interest in any farm- or commercial fishing-related property?

§

§

§

§

§ No. Go to Part 7. §
Yes. Go to line 47. §

P

 

§Do,hot;deduct.secured_c|aims_

 

erie,>‘s'!"e!ig'z§é,:§ `. z ; ‘ _'
47. Farm animals §
Exa 'es: Livestock, poultry, fann-raised fish §
No
§ Yes ..........................
: $

 

 

 

 

L_`.,.,,N . .,¢.~. Y.. .»_~ . . _ ..». ,s.. ~.. … . …t\.._...,_....., ",NW._`,......“. ..,.,._..._,,_..W,..._,.,

Official Form 106A/B Schedule AlB: Property ` page 9

 

 

 

Case 8-18-72971-ast

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Debtor 1

48. CropsTeither growing or harvested . ;
/

No

cl Yes. Give specific
information .............

 

/"

 

49:;nynd fishing equipment, lmplements, machinery, fixtures, and tools of trade
No

 

ij

Yes ..........................

 

 

 

£;_50.Farm and fishing supplies, chemicals, and feed

n Yes ..........................

 

 

 

 

 

51.Any/farm- and commercial fishing-related property you did not already list

y 0
m ¥es. Give specific
information .............

 

 

 

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52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached

for Part 6. Write that number here 9

 

 

 

 

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11

Describe All Property You own or Have an lnterest in That You bid Not List Above l

 

 

53. bo you have other property of any kind you did not already list?

Examples: eason tickets, country club membership
o//‘

El Yes. Give specific
information. ............

 

 

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§

 

 

 

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r

 

54.Add the dollar value of all of your entries from Part 7. Write that number here

"69* 6)_~€9_€9"' " ' ' "

 

 

 

Llst the Totals of Each Part of this Form

5 z

il 55.Part1: Total real estate, line 2 § $:
§ ,_\.,_,},
se.Part 2: Total vehicles, line 5 l-

1

§

57. Part 3: Total personal and household items, line 15
§
l
l
l

58. Part 4: Total financial assets, ||ne 36

 

; 59. Part 5: Total business-related property, line 45
§ 60. Part 6: Total farm- and fishing-related property, line 52

61.Part 7: Total other property not listed, line 54

 

62.Total personal property. Add lines 56 through 61. .................... Copy personal property total ')

 

 

 

 

ZS'O am <9 y b

,_,-__.,._..,.-`|.._ ,.,,, ..7...,,~._,..,

.J_/

(.";.

 

 

 

 

63.Total of all property on Schedule AlB. Add line 55 + line 62.

 

 

 

 

 

 

Official Form 106A/B Schedule AlB: Property

 

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Fi|l in this information to identify your case:

-~~- -- ~ - ~-Debiori M§Z.A EL¢ Z>B§W

Firs\ Name Middie Name Lasi Name

  
 
  

   
 
       

Debtor 2
(SpOUse, if fillng) First Name Mlddle Name Last Name '

United States Bankruptcy Court for the: ML> Di$frict Of iii z l

Case number Y'/\ Y " q' 2/?:"{

(lf known)

 

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amended filing

Official Form 1060
Schedule C: The Property You Claim as Exempt j 04/16

Be as complete and accurate as possible. lf two married people are Hling together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. lf more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

. For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternative|y, you may claim the full fair market value of the property being exempted up tojthe amount
of any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

l
v l
m l¢_lentify the Property You Claim as Exempt " l
l
1. Vgi/ch set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
m You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

i

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws th`at allow exemption
Schedule A/B that lists this property portion you own '

Copy the value from Check only one ‘box for each exemption.
Schedule A/B

ldz¢relseif:ription: Ho‘)jg $ ZS/DM U($/L
100% of fair market value, up to

 

 

 

Line from . . .
Schedule A/B: /1 '. any applicable statutory limit
Brief /' c

description: CAA/,b $d/()O@~ (H |:l $ //

. . 100% of fair market value up to
L f , . .' .
S|gi?e¢;?r;; A/B,~ & any applicable statutory limit
Brief f 12 25_1,,: E| n g § §§ / .
description: .,) $ n $ ' y
Line from Q"l 00% of fair market value, up to

any applicable statutory limit

Schedule A/B:

 

3. Are you claiming a homestead exemption of more than $160,375?
(Sub' ct to adjustment on 4/01/19 and every 3 years after that for cases Hled on or after the date of adjustment.)

No
l;l Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

l:l No
n Yes

Official Form 1060 Schedule C: The Property You Claim as Exempt page 1 of _

 

 

\
'd‘)

Debtor 1

 

m Additional Page

Brief description of the property and line
on Schedule A/B that lists this property

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief 7
description:
Line from

Schedule A/B.'

Brief
description:
Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B.'

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B.'

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Official Form 1060

Current value of the
portion you own

Copy the value from
Schedule A/B

'§c€vrca/.\lic§ $ 5500@
' ‘ 1 A$ &-06"®
-tl-

,;05@!4.¢;¢ ’;a~aa,a,i# f $ rizz~)¢*

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Case number (i/known) (?" /g - ?Lq;’/_/

Amount of the exemption you claim

Check only one box for each exemption

U$

m% of fair market value, up to
any applicable statutory limit

l] s " ¢/
0% of fair market value, up to
any applicable statutory limit

U$

/00% of fair market value, up to
any applicable statutory limit

 

n 100% of fair market value, up to
any applicable statutory limit

 

m 100% of fair market value, up to
any applicable statutory limit

 

a 100% of fair market valuel up to
any applicable statutory limit

 

n 100% of fair market value, up to
any applicable statutory limit

 

n 100% of fair market value, up to
any applicable statutory limit

 

n 100% affair market value, up to

 

n 100% of fair market value, up to
any applicable statutory limit

 

n 100% of fair market value, up to
any applicable statutory limit

$ El $
$ El $
$ El $
$ El s
$ El $
$ Cl s
__ any applicable statutory iimit
$ El $
$ El $
$ El $

 

 

n 100% of fair market value, up to
any applicable statutory limit

Schedule C: The Property You Claim as Exempt

i

Specific laws that allow exemption

 

 

page 2__ of _

 

 

 

 

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!'Fi|| in this information to identify your case: ,

Debtor1 linn Ee»\zaa@~i 'Tri.ri.eiter_e.

 

 

 

 

Fiis Name Middle Name LastName
Debtor 2
(Spouse, iffiling) FirsiName Middie Name LastName §
l
United States Bankruptcy Court for thaw District Of MQ\:S »/ ~C'» '
Case number %’H\K<? ;qi'y._éq :P”\ v . . .
tiikhown) ' n Check if this is an

 

amended filing

Official Form 106D
` Schedule D: Creditors Who Have C|aims Secured by Property § 12/15

Be as complete and accurate as possible. |f two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the Additiona| Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
Cl No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

n Yes. Fi|l in all of the information below.

mild A|l Secured C|aims

l

l

i
' ‘iColumn`A »_< `,' _ - §rCo/uinn;:B}.¥ l . ' Co,lymr_r;C`»` ' 12
2. List all secured claims. lf a creditor has more than one secured claim. list the creditor separately iAm°un't dc|aim ;Value;°f‘ c'¢i"'fatera|_§§ Uns~ecure»d,-
for_ each claim. lf more than one creditor has a particular claim. list the other creditors in Part 2. §Do hot,déd"dc‘t th(_,: ~ ‘ 'a¢»$dpp°rt‘s this `,§ l p¢`,rtibn - ‘ ,
As much as possible, list the claims in alphabetical order according to the creditoi”s name. "Va|ue d C'o"ate'ral ' t §` ’, ` ` " " '

 

    
 
 
  

  

Describe the property that secures the claim: $

| Number t Street q’|,@ WQMQ§» §Aé H§a'é@ .
: L£S§/A m l 5 0 U-_a,{ As of the date you fi|e, the claim is: Check all that ap

|‘CL]WGF'CO|&P C@_`)<'%» d»@‘*bontingent 74
5\',||‘|'¢ lit-5 n Unliquidated
W state ziP code L__] Disputed

 

 

  
 

 

 

l$@u~) as .
VV¢S the ebt? Check One- Nature of lien. Check all that apply. z
Debtor1 only n An agreement you made (such as mortgage or secured i

n Debtor 2 only car |oan) i
n Debtor1 and Debtor 2 only n Statutory lien (such as tax lienl mechanic's lien) §
m At least one of the debtors and another n Judgmem lien from a lawsuit `r

U other (ineiudihg a right to offset)
Cl Check if this claim relates to a
community debt

 

 

Date debt was incurred Last 4 digits of account number °?( 4 73 d) f
~ z , /
L,Z] \KS (§DHM¢§SM al ` Describe the property that secures the claim: $M'$ $
Creditor‘s Na e ` / ' / .
" » those q mcrae par y

 

 

|¢%?L[iA/QQ[HAQ:EA:TF 711
Num er Street C¢¢(yy*ao$ !:)'(J Wibla()f)()'{) gloer MA€IZ/')Z,M

As of the date you tile, the claim is: Check all that apply.
n Contingent

City ate ZlPC de

 

 

 

 

m Disputed
Who owes the debt? Check one. Nature of lien. Check ali that apply.
n Debtor1 Only n An agreement you made (such as mortgage or secured
n Debtor 2 only Car loan) 4
C] Debtor1 and Debtor 2 only l:\ Statutory lien (such as tax lien, mechanic's lien)
l |;l ,At least one of the debtors and another n Judgment lien from a lawsuit z "
1 U other (inciuding a right to offset) !
n Check if this claim relates to a l

Add the dollar value of your entries in Co|umn A on this page. Write that number here: E

Official Form 106D Schedule D: Creditors Who Have C|aims Secured by Prope…: § page 1 of_

community debt / & ,: 6 §
Date debt was incurred Last 4 digits of account number __ __ _ x 67 0 cf '

 

 

 

 

 

¢..._-~=~~.-_-_

 

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7 ad
/` .
Debtor1 - Case number tirl<newm 3"' / g " Ha'? <?'J"/
lrs Name Mlddle Name LastNa e l '
d jr t l y v - 7 - \ ~v M_“__§_' ____ __ ___ l ` l _ _‘,____;
' Addltl°nal p'a_g;" ' ' '* “' w " ' ' _` " * ' _` ‘ feoll_]mn A"‘”"" Column B l column C
. . . . . . . =Amount of claim Va|ue'of collateral Unsecured
After listing any entries on this page, number them beginning with 2.3, followed l Do not deduct the mail supports lhls v portlon
by 2'4' and s° f°'"" ` ;.Yaly.e;<zf.s@ll§f§rel-_~;~ 1.°“?_"“. d . ; lf.a;ny,t ,
Describe the property that secures the claim: $ $ : $
Creditors Name l
Number Street '
As of the date you file, the claim is: Check all that apply. -
l;l Contingent y
city state ziP code El unliquidated
a Disputed '
Who owes the debt? Check one. v Nature of lien. Check all that apply.
Cl Debtor1 0an n An agreement you made (such as mortgage or secured
\;l Debtor 2 only car loan) y
C| Deblorl and Deblor 2 only n Statutory lien (such as tax lien, mechanic's lien) ’
a At least one of the debtors and another n Jud§meni lien from a lawsuit `
Cl other (including a right to offset)
L'.l cheek if this claim relates te a
community debt
Date debt was incurred Last 4 digits of account number _ _ _
_ Describe the property that secures the claim: $ $ l $
Creditors Name
Number Street
As of the date you file, the claim is: Check all that apply. -f
n Contingent f
n Unliquidated :
Clty State ziP code l;l Disputed l
Wh° owes the debt? Check °ne' Nature of lien. Check all that apply.
m Debt°r 1 only n An agreement you made (such as mortgage or secured
El Debtor 2 only oar loan)
l:l Debtor1 and Debtor2 Only l;l Statutory lien (such as tax lien, mechanic's lien)
a At least one of the debtors and another n Judgment lien from a lawsuit l
n Check if this claim relates to a n Other (mc|udmg a right to offset) l
community debt
Date debt was incurred Last 4 digits of account number __ _ _ _
Describe the property that secures the claim: $ $ $
Creditors Name i
§
Number Street '
As of the date you file, the claim is: Check all that apply. z
n Contingent l
city state ziP code Cl unliquidated l
m Disputed l
Who owes the debt? Check one. Nature of lien. check ali that apply. l
n Debtor1 0an n An agreement you made (such as mortgage or secured ,
m Debtor 2 only car loan) i
C] Debtor1 and Deblol- 2 only n Statutory lien (such as tax lien, mechanic's lien) l
n At least one of the debtors and another m Jud§meni lien from a laWSUil
El other (inciuding a right to offset) ;
n Check if this claim relates to a _
community debt l
Date debt was incurred Last 4 digits of account number __ _ _ ____ l
Add the dollar value of your entries in Co|umn A on this page. Write that number here: $ ,
l
lf this is the last page of your form, add the dollar value totals from all pages. ‘
M Writejhatnumber here: $ l
Official Form 106D Additional Page of Schedule D: Creditors Who Have C|aims Secured by Property l page _ of
l
l

 

Case 8-18-72971-ast

    
 

Fill in this information to identify your case:

'0t,yi- aian

'First Name Middle Name

 
      

/

 

Debtor 1

Last Name

 

 

 
       

Debtor 2
(Spouse, if nling) First Name

United States Bankruptcy Court for the: t/&’Ellbl D'istrlct of L¥
Case number § -'l g " ?Lalq'l d

 

Middle Name Last Name

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Ent€l’ed 05/15/18 13244: 4

m Check if this is an
amended filing

 

     

(lf known)

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured C|aims

e. Use Part 1 for creditors with PR|OR|TY claims and Part 2 for creditors with NONPR|OR|TY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106AlB) and on Schedule G.' Executory Contracts and Unexpired Leases (Official Form 1066). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. lf more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the |eft. Attach the Continuation Page to this page On the top of

any additional pages, write your name and case number (if known).

mlst A|l of Your PR|OR|TY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?

 

12/15

 

 

Be as complete and accurate as possib|

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U No. to Part 2. l
,/ // l
eS. / l
. List all of your priority unsecured claims. lf a creditor has more than one priority unsecured claiml list the creditor separately for each claim. For
each claim listed, identify hat type of claim it is. lf a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As mu as possible, list the claims in alphabetical order according to the creditors name. lf you have more than two priority
unsecured claimsl fill out the Continuation Page of Part 1. lf more than one creditor holds a particular claiml list the other creditors in` Part 3.
(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.) 4_ _ _ 4_ v _ __ i_‘_ § l _ y g l l
;_Tota| claim c P'riority `» . Nonp'ri_ority y
“ § . ~ '_ ': ,.amo.uri.f e_-' ._em.¢>u,n'.f _
l / l
2.1 - - q ' l
` 1 "tv-»"Last4 digits of account number _ _ _ _ $ ZZ,' 1366 l 3
i`, k ’ ` .~“, When was the debt incurred? m l
N 'mber Stree l l
':~/5 fyi T¢/ giob _ + ll\as}uhe date you file, the claim is: cheek ali that apply.
C.‘f j l ` " ' " ' Contingent `
l y l l
' Cl unliquidated
W/lwurred the debt? Check one. El Disputed l
y Debtor1 only l
Cl Debtor2 only Type of PR|OR|TY unsecured claim: `
x g Debi°ri and Debi°i 2 °iiiy n Domestic support obligations
l At least one of the debtors and another l;l Taxes and certain other debts you owe the government l
n check if this ciaim is f°i a community debt m Claims for death or personal injury while you were l
ls the claim subject to offset? '"i°Xi°aied ii
_ [l No El other. specify l
l Cl Yes
2'2 Last 4 digits of account number _ _ _ _ $ $ ‘ $
l Priority Creditors Name
' When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
ij Contingent ii
city state ziP code Cl Unliquidated
Who incurred the debt? Check one. m Disputed
El D t
l ab on only Type of PR|OR|TY unsecured claim:
l cl Debtor 2 only n D f n br f
Cl Debtor1 and Debtor 2 only °"ies '° supp° ° iga i°"S
n At least one cf the debtors and another n Taxes and certain other debts you owe the government
El cheek if this claim is for a community debt :it:i;ilicsa;::j ea ii °' peis°"ai i“ii"y Wii'ie y°ii We'e l
§ ls the claim subject to offset? n Other. Specify l
a No .
owcp Yes ..
`. Official Form 106E/F Schedule ElF: Creditors Who Have Unsecured C|aims page 1 of_

_X`/" m

 

 

blm ne EL|ZAMM M

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Case number (irknown) Y/ l X'/ ?Zz? §d\

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor1
First Name Midd|a Name Last Name
moot PRioRi'rY unsecured claims - continuation Page
After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth. `To'ta| claim Priority Nonpriority
‘ l amount . amount -
Last 4 digits of account number _ _ _ _ $ l $
Priotity creditors Name l
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
n Contingent
city state ziP code El Unliquidated
Cl Disputed '
Who incurred the debt? Check one. `
El Debtor1 only Type of PR|OR|TY unsecured claim: l
n Debmr 2 only m Domestic support obligations f
n Debtor1 and Debtor 2 only . -
m Taxes and certain other debts you owe the government '
Cl At least one of the debtors and another . . . . '
cl Claims for death or personal injury while you were
El check if this claim is for a community debt ‘"‘°X'°a‘ed
n Other. Specify
ls the claim subject to offset?
n No ' l
n Yes l
Last 4 digits of account number _ _ _ _ $ $
Prion'ty Creditoi’s Name l
When was the debt incurred? "
Number Street f
As of the date you file, the claim is: Check all that apply.
n Contingent ,
city state ziP code Cl Unliquidated `l
n Disputed f
Who incurred the debt? Check one. '
Cl Debtor1 only Type of PR|OR|TY unsecured claim:
n Debtor 2 only n Domestic support obligations »
El Debtor1 and Debtor 2 only . l
n Taxes and certain other debts you owe the government .
l;l At least one of the debtors and another . . . . t
m Claims for death or personal injury while you were l
El check if this claim is for a community debt "“°X'°a‘ed l
Cl oiher. specify
ls the claim subject to offset?
n No f
n Yes §
Last 4 digits of account number _ _ _ _ $ ‘ $
Priotity creditors Name l
When was the debt incurred?
Number Street t
As of the date you file, the claim is: Check all that apply.
n Contingent
city stale zip code El unliquidated
m Disputed
Who incurred the debt? Check one.
n Debtor1 only Type of PR|OR|TY unsecured claim:
m Debtor 2 only n Domestic support obligations
El Debtor1 and Debtor 2 only _
n Taxes and certain other debts you owe the government
n At least one of the debtors and another , . _ _
|;l Claims for death or personal injury while you were
n Check if this claim is for a community debt mwx'ca‘ed
El Other. Specify
ls the claim subject to offset? l
n No
n Yes
Schedule ElF: Creditors Who Have Unsecured Claims page _ of

Official Form 106E/F

 

Debtor 1 "

Firsl ame Middle Name Las Name

md All of Your NONPR|OR|TY Unsecured Claims

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Case number iifknown) z/`/ 1X z ?' }?7; l

 

3. Do any creditors have nonpriority unsecured claims against you?

Yes

claims fill out the Continuation Page of Part 2.

:;l

 

Nonpriority Creditor's Name

 

Number Street

 

City State ZlP Code

Who incurred the debt? Check one.

m Debtor1 only

cl Debtor2 only

Cl Debtor 1 and Debtor 2 only

n At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

i:l No
El Yes

n No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Last 4 digits of account number _

When was the debt incurred?

As of the date you file, the claim ls: Check all that apply.

l:l Contingent
n Unliquidated
El Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce
that you did not report as priority claims l`
n Debts to pension or profit-sharing plans, and other similar debts`

Cl other. specify

 

wv~‘

. . ` l
4. List all of.your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. lf a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listedl

identify what type of claim it is. Do not list claims already
included in Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.|f you have more than three norpriority unsecured

Total claim `

 

 

 

Nonpn`ority Creditors Name

 

Number Street

 

City State ZlP Code

Who incurred the debt? Check one.

n Debtor1 only

Cl Debtor2 only

|:l Debtor1 and Debtor 2 only

n At least one of the debtors and another

l:l Check if this claim is for a community debt

ls the claim subject to offset?
cl No
n Yes

Last 4 digits of account number _ _ _ _ l
When was the debt incurred?

As of the date you file, the claim is: Check all that apply. ;
m Contingent l
El unliquidated '

m Disputed

Type of NONPR|OR|TY unsecured claim:

Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims l
Debts to pension or profit-sharing plans, and other similar debts
Other. Specify

l
i
i
i
l
i
i
i
i
i

UU UE!

 

 

 

li

 

Nonpriority Creditofs Name

 

Number Street

 

City State ZlP Code

Who incurred the debt? Check one.

m Debtor1 only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

m At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

 

Last 4 digits of account number _ _ l

When was the debt incurred? y

As of the date you file, the claim is: Check all that apply. l'

n Contingent
cl Unliquidated
a Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

El Ob|igations arising out of a separation agreement or divorce
that you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

 

 

g 525 El other. specify l
Official Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims page _ of_

 

 

 

 

 

 

§

Case 8-18-72971-ast

i\iild Pl,lumtt

i-'irs't Name Middle Name

Debtor 1

Last Name `

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Case number tirlmowni z/~’ ‘ z< "" :+Lq /&’“\`

Your NONPR|0R|TY Unsecured claims - continuation Page l

 

 

 

 

 

 

 

l 1 ~ t

Total claim

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.
l
Last 4 digits of account number _ _ _ _ $
Nonpriority Creditors Name
When was the debt incurred?
Number Street As of the date you file, the claim is: Check all that apply.
city state ziP code Cl contingent
El unliquidated
Who incurred the debt? Check one. j;] Disputed
l
n Debtor1 only l
Cl Debtor2 only Type of NONPR|OR|TY unsecured claim:
m Debtor1 and Debtor 2 only n Studenl loans
n At least one of the debtors and another n Obligations arising out of a separation agreement or divorce that
. . . . . did not report as priority claims
El Check if this claim is for a communit debt you »
y n Debts to pension or profit-sharing plansl and other similar debts
ls the claim subject to offset? E| Other_ Specify l
\:l No - ’
n Yes
_j 1
l
Last 4 digits of account number _ _ _ _ ` $
Nonpriority Creditors Name l:
When was the.debt incurred? ll
N b si t
um er fee , As of the date you file, the claim is: Check all that apply.
l city state ziP code Cl Contingent "
1 ij Unliquidated
Who incurred the debt? Check one. L__] Disputed . ,
l] Debtor 1 only l
El Debtor2 only Type of NONPR|OR|TY unsecured claim: `
§ Debtor 1 and Debtor 2 only n Student loans l
At least one cf the debtors and another i:l Obligations arising out of a separation agreement or divorce `lthat
n Check if this claim is for a community debt you d'd not report as pneer c|:°“ms _ _ l
El Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? El other. specify §
l
n No l
i:l Yes i
_1 _. t
Last 4 digits of account number _ _ _ _
Nonpriority Creditofs Name
When was the debt incurred? l
Number Street _ _ ,
As of the date you file, the claim is: Check all that apply. l
city state ziP code [] Contingent -
C| unliquidated §
Who incurred the debt? Check one. n Dlspuled -
n Debtor 1 only
Cl Debtor2 only Type of NONPR|OR|TY unsecured claim:
§ Debtor 1 and Debtor 2 only n Student loans
At least one of the debtors and another El Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you d'd not report as pmmy Cl_alms _ _
n Debts to pension or profit-sharing plans, and other similar d ath
ls the claim subject to offset? [| Other_ Specify
n No
n Yes
Official Form 106E/F Schedule ElF: Creditors Who Have Unsecured C|aims page _ of

 

 

 

 

Debtor 1

m Llst others to Be Notlfled About a Debt That You Already Llsted ‘

 

examp|e,
2, then list the collection agency here. Similar|y,

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Fiist Name

Ll' ur¢s

.,¢
Midd|e Name

5. Use this page only if you have others to be noti

Case number (ilkncwn) g’ |- g " iq'Z/?? |

l

fied about your bankruptcy, for a debt that you already listed in Parts 1 or 2[ For

if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or

 

 

 

 

if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. lf you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

On which entry in Part1 or Part 2 did you list the original creFitor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
l
Line __ of (Check one): m Part 1: Creditors with Priority Unsecured C|aims
Number S"ee¥ n Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number _ _ _ _
city state ziP code }
On which entry in Part1 or Part 2 did you list the original creditor?
Name
Line of (Check one): El Part 1: Creditors with Priority Unsecured C|aims
Number Street El Part 2: Creditors with Nonpriority Unsecured
Claims l
l
Last 4 digits of account number_ _ _ _ l
city state ziP code l
On which entry in Part1 or Part 2 did you list the original cr¢[aditor?
Name
Line of (Check one): El Part 1: Creditors with Priority Unsecured C|aims
Number S"eet Cl Part 2: Creditors with Nonpriority Unsecured
C|aims l
Last 4 digits of account number_ _ _ _
_c_i_ty state ziP code _ ‘
On which entry in Part1 or Part 2 did you list the original creditor?
Name t
Line of (Check one): Cl Part 1: Creditors with Priority.U,nsecured C|aims
Number 5"”' El Part 2: Creditors with Nonpriority Unsecured
Claims ,
, Last 4 digits of account number_ _ _
City State ZlP Code `_ "
On which entry in Part1 or Part 2 did you list the original creditor?
Name l
Line of (Check one): El Part 1: Creditors with Priority Unsecured C|aims
__ l
Numbe' S"ee‘ Cl Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number_ _ _ _
City State ZlP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name y
Line of (Check one): El Part 1: Creditors with Priority Unsecured Claims
Numbe' S‘"’e‘ Cl Palt 2: Creditors with Nonpriority Unsecured
Claims ‘
Last 4 digits of account number_ _ _ _
City State ZlP Code
N On which entry in Part1 or Part 2 did you list the original c"'editor?
l ama
Line of (Check one): \;l Part 1: Creditors with Priority Unsecured C|aims
Number Street . . . `.
Cl Part 2: Creditors with Nonpriority Unsecured
Claims 1
City State ZlP Code Last 4 digits of account number _ _ _ _

 

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims page _ of_

 

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eaton Mo_ut_@i_;dm_o]dd££é@-'I

Firsl Name Middle Name Last Name

mdd the Amounts for Each Type of unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 UeS.C.;§ 159.

Add the amounts for each type of unsecured claim.

Total claims

l

l

!| 6a. Domestic support obligations
l

l from Part1

6b. Taxes and certain other debts you owe the
' ' government

Sc. Claims for death or personal injury while you were
intoxicated

6d. Other. Add all other priority unsecured claims.
Write that amount here.

6e. Total. Add lines 6a through 6d.

Totalclaims 6f. Student loans

j ~fr°m Part 2 Gg. Obligations arising out of a separation agreement
or divorce that you did not report as priority
claims

6b. Debts to pension or profit-sharing plans, and other
similar debts

6'. Other. Add all other nonpriority unsecured claims.

Write that amount here.

6j. Total. Add lines 6f through 6i.

Sa.

6b.

Sc.

6d.

6e.

6f.

69.

Gh.

6i.

6j.

Case number (i/i<ndwn) §‘/ l g ' q/) 197 191 _{

Total claim

 

 

$

 

 

Total claim

$/_

 

 

 

 

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Official Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims

 

page _ of _

 

 

 

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Debtor 2
(Spouse if t'iling) Fiisl Name Middia Nama Last Name

»;,' __ \\ _ _ - ,
United States Bankruptcy Court for themM»District of L )L_/¢ v
. n " l t `
-,/. 1 ' \' ,_.. 1 . . .
Case number q l g ,‘+L?':H n Check if this is an

 

(lf known) [
amended filing

 

 

 

Official Form 1666
Schedule G: Executory Contracts and Unexpired Leases l 12/15

Be as complete and accurate.as possible. lf two married people are filing together, both are equally responsible for supplyingicorrect
information. lf more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On theb top of any
additional pagesl write your name and case number (if known). l

l

,. l

1. Do yo `/ ave any executory contracts or unexpired |eases? j
0. Check this box and me this form with the couit with your other schedules. You have nothing else to report on this form. f

l

n Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A{B).

2. List separately each person or company with whom you have the contract or |ease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and

- unexpired leases.

l
_./ l
Person or company with whom you have the contract or lease State what the contract or lease is for i

i'”':l `~
i2.1

 

Name

 

Number Street

 

City State ZlP Code [

2.2 E
w,,.,J

 

Name

 

Number Street

 

City State ZlP Code

 

Name §

 

Number Street

 

City State ZlP Code

 

Name

 

Number Street

 

 

City State ZlP Code

 

Name

 

Number Street

 

 

City State ZlP Code

Official Form.1OGG Schedule G: Executory Contracts and Unexpired Leases page 1 of__y

Debtor 1

Fi'rst Name

      

Last Name

- Additional Page if You Have More contracts or Leases

Person or company with whom you have the contract or lease

22

 

Name

 

Number

Street

 

City

State

ZlP Code

 

Name

 

Numberl

Street

 

City

State

ZlP Code

What the contract or lease is for

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Case number (iii<ncwn) Fj“ 1/$§ m q‘-zq`?i!

 

 

Name

 

Number

Street

 

city

State

ZlP Code

 

 

Name

 

Number

 

Street

 

City

State

ZlP Code

 

 

Name

 

Number

Street

 

city

State

ZlP Code

 

Name

 

Number

Street

 

City

State

ZlP Code

 

Name

 

Number

Street

 

City

State

ZlP Code

 

 

Name

 

Number

 

Street

 

 

City

\ omciai Form 1066

State

ZlP Code

Schedule G: Executory Contracts and Unexpired Leases

pageLOf __W

 

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hidsz

 

 

 

Last Name
i
i
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for thaw DiStrin Of h i\/‘ J / ; ~

Case number §A§'/\ ig,'-¢)?'Lq)?- ij y
mkn°wn) El check if this is an

amended filing

Official Form 106H _
Schedule H: _Your codebtors ` l 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. lf two married people
are filing together, both are equally responsible for supplying correct information. lf more space is needed, copy the Additional}Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages,_write your name and
case number (if known). Answer every question. `

1. We any codebtors? (lf you are filing a joint case, do not list either spouse as a codebtor.) r
No l
l

m Yes
2. Within the 8 years, have you lived in a community property state or territory? (Community property states and territories include
California, ldaho, Louisiana, Nevada, New Mexico, Puerto F\’:ico, Texas, Washington, and Wisconsin.)

   
 
  

Arizo c
No. Go to line 3. l » l
El Yes. Did your spouse, former spouse. or legal equivalent live with you at the time? §
m No
n Yes. |n which community state or territory did you live? ` . Fill in the name and current address of that person.

 

Name of your spouse, former spouse. or legal equivalent

 

Number Street

 

City State ZlP Code L
3. |n Co|umn 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the: person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 1066). Use Schedule b,

Schedule E/F, or Schedule G to fill out Column 2.
Column 1: Your codebtor * Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

l

3.1 t
:l l;\ Schedule D, line §
l

l

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
|;l Schedule E/F, line _
Number street El Schedule G, line
city state V- ziP code l
3.2
n Schedule D, line _`
Name
El schedule E/F, line __
Number Street Cl Schedule G, |in_e
city state ziP code
3.3
Cl Schedule D, line
Name .__.
Cl Schedule E/F, line _
Number street Cl Schedule G, line §
_gty state ziP code §
l,._. l

 

Official Form 106H Schedule H: Your Codebtors _ page 1 of _

 

 

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se ‘ , ' § if
Debtor1 }\|OL{A @'L"ZJM?§€TN 63 MA£"'J““;N»~ Case number ()/known) 35 '§) “ ;?é' l [+1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Firsl Name Midd|e Name Last Name
-_Addltlonal Page to Llst More codebtors
Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
Check all schedules that apply:
L_.l Schedule D. line
Name _
Cl Schedule E/F, line
Number Street n Schedule G, line _
city state ziP code l
Ll ’
_ El schedule D, line 1
Name l t
~ Cl Schedule E/F, line
Number street Cl Schedule G, line _ §
l
City State ZlP Code l
el l
Cl Schedule D, line §
Name
Cl Schedule E/F, line
Number street l:l Schedule G, line _
city state ziP code
:-l
Cl Schedule D, line :
Name l
Cl Schedule E/F, line
Number street l:l Schedule G, line ,
l'
city state ziP cede
id
N El Schedule D, line ‘
ama l
Cl Schedule E/F, line f
Number street n Schedule G, line
l
city state ziP cede l
3;| l
N Cl Schedule D, line
ama '-__
El Schedule E/F, line i
Number street m Schedule G, line _ :
l
city state ziP code '
d N Cl Schedule D, line
ame j
n Schedule E/F, line .
Number street Cl Schedule G, line _
city state ziP cede
N Cl Schedule D, line
ama ___
l] Schedule E/F, line
Number street Cl Schedule G, line
l
city state ziP cede
Official Form 106H Schedule H: Your Codebtors page _ of _

 

 

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Fiii in this information to identify your case:

Debtor1 n §\)DUH’ ZI'LA/z?i¥-i z TMZi/;L_

t , t
F'irsl Name Middle Naivt'e Last Name

Debtor 2
(Spouse, if fliing) First Name Middle Name Last Name

United States Bankruptcy Court for thaw D§strict of |§2 §§ _
Case number <Z ' ll g\"' q’ 29qu l

(lf known)

 

Check if this is:

m An amended filing

El A supplement showing postpetition chapter 13
income as of the following da e:

 

 

OffiCial FOi'm 1061 _ m
Schedule l: Your income 12/15

Be as complete and accurate as possible. if two married people are filing together (Debtor1 and Debtor 2), both are equally responsible for
supplying correct information. if you are married and not filing joint|y, and your spouse is living with you, include informationlabout your spouse.
if you are separated and your spouse is not filing with you, do not include information about your spouse. if more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 

 

i
mbescribe Emp|oyment §
§ _ t
1. Fii| in your employment

 

§ information. - Debtor 1 _ Debtor 2 or non-fi|i§tg spouse
l ,

§ if you have more than one job, / §

] attach a separate page with t

§ information about additional Emp|oyment status Emp|oyed n Emp|oyed t

` employers. '\U Not employed cl ~Not employed

t
l
‘| include part-time, seasonai, or

self-employed work. v l 1 i
Occupation LLS&AMM " ~ ' " {' <nv@ `

 

Occupation may include student /

or homemaker, if it applies. _ _
Emp|oyer’s name \'M€$THA'M/pm> plaza MMA(U'}` reg `\
.\ k ,

""" ' "' Emp|oyer’s address 3 L"L bg SLM. §§ !Q my i
1_ v 4 . Number Street § Number Street '

 

 

 

' ` ~ w\<\l% t\)~i ':llOlf~’W

City State ZlP Code City

' l
How long employed there? \ 5 § leo c 5 §
._ il ___ §

` i
mlee Detalls About Monthly income §

§ Estimate monthly income as of the date you file this form. if you have nothing to report for any line, write $O in the space. lncit§de your non-ming
|
l

State ZlP Code

spouse unless you are separated.

`_ if you or your non-filing spouse have more than one empioyer, combine the information for all employers for that person on the lines
t below. if you n'eed more space, attach a separate sheet to this form.

 

 

 

 

 

 

 

 

§ § , '\,
§ For Debtor1 For Debtor 2 or
§ non-filing spouse
§ _
§ 2. List monthly gross wages, salary, and commissions (before ali payroll
§ deductions). if not paid monthly, calculate what the monthly wage would be.
l
l
§ 3. Estimate and list monthly overtime pay. j;\),_;»' I,J, 1/‘,
l _ . " _\ ' ‘“
§ ( "\\/\ 'i~'(»"' § k t 2 1 " ir‘i"u'
, 4. Calcu|ate gross income. Add line 2 + line 3. "t:' ’l`. `jt `? " '
l
! {._`; .'. '.»,',-..-; t ': ~
' . _ "‘rtl ftl l?\ :`-t:F
Official Form 106| ‘~/"". =i ' 1Schedule l: Your income page 1
)`-r"/ , _ t .
t_t,'"'».z‘ _",£_-`\~~“`_ r §§" V\.M\.r`\_ l ,`

 

 

 

 

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irl

Debtor 1

 

`FortDebtor 1 For Debtor 2 or

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Case number (irl<rtewnl t% / 1 \1‘* ?Lciq’ §

 

 

 

 

 

 

 

 

 

 

 

 

§ § _MM _w__ ~ non-filing spouse
' ` t`
\ Copy line 4 here ............................................................................................... ') 4. $ l’ll 04 $
l
l
f 5. List ali payroll deductions: l L l
l / .
l 5a. Tax, Medicare, and Sociai Security deductions 5a. $ §§§ 22 Q§' $
§ 5b. Mandatory contributions for retirement plans 5b. $ ` § ' $
§ Sc. Voiuntary contributions for retirement plans 5c. $ l $
l 5d. Required repayments of retirement fund loans 5d. $ § r $
§ 5e. insurance 5e. $ 531 y z {~ $
§ 5f. Domestic support obligations ' 5f. $ v $
§ 59. Union dues 59. $._(£LL`{ $ §
' 5h. Other deductions. Specify: 53 albuth 5h. + $ /:221,01@ + $
6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5a +5f + 59 + 5h. 6. $ §§ 'S¢ ¢. §)" (/ $
1 - §
§ 7. Calcu|ate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 2 3 i'¢_)& - QJ/ $
l t
8. List ali other income regularly received: §
8a. Net income from rental property and from operating a business, `
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ $
\ monthly net income. 8a.
8b. interest and dividends 8b. $ $
l
l -Sc. Famiiy support payments that you, a non-filing spouse, or a dependent
§ regularly receive .
l include alimony, spousal support, child support, maintenance, divorce $ $
l settlement, and property settlement 80. §
§ 8d. Unempioyment compensation 8d. $ ';
l 8e. Sociai Security 8e. $
l
l Bf. Other government assistance that you regularly receive
l include cash assistance and the value (if known) of any non-cash assistance
: that you receive, such as food stamps (benetits under the Suppiemental
l Nutrition Assistance Program) or housing subsidies.
§ specify: af. $ $
', 89. Pension or retirement income 89. $ $
§ 8h. Other monthly income. Specify: 8h. + $ +$` §
l :
§ 9. Add ali other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h. 9. $ $
l
‘10.Caicu|ate monthly income. Add line 7 + line 9. 23 § 5 32 + ` _ $
§ Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. $ . $___ ' "
l
l11. State all other regular contributions to the expenses that you list in Schedule J.
l include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
§ friends or reiatives.
§ Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
l
l Specify: ' 11. + $
l
*12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. 02
l Write that amount on the Summary of YourAssets and Liabilities and Certain Statistical lnformation, if it applies 12, $M
l .
' Comblned

13. Do you expect an increase or decrease within the year after you file this form?

monthly income

 

   

    

 

       

ij . v
QBY:S. exptatn; iii Mé.<?v€ ieme,at-,¢t§e . EF/.qu-i/,l:ww_,¢(’:’wileee,~ tamm g lmra
L ... '§ 941 il \ d._¢' ’ , .i iv__i.L../ - M-» .A ,V' 4 d ' ejBL
thciai Form 106| Schedule i: Your income page 2

 

 

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SC)A@Q))»@ il 1~ YUL);@ icm/16

[,\MAM{ MSLSTA©T CWA,,<Q’<§|';M®

l“/Y>T\cs mwelw owl/mw
CUMOMT\/ pvi%/WL/§

Lio'+ wiwf\l»\ l';LO\/O PAM<W“‘/]

FH'M\/L ww> gwa_ nrc/51

/TL \/6>41@

 

 

Check if this is:

Debtor1 \ '_ ) ;M ....` 4
' ' , Middie Nam- Last Name

 

Debtor2 , Cl An amended filing

(Spouse, if filing) First Name Middle Name Last Name

.'/ . . ` \
United States Bankruptcy Court for the:wg@_) Dis!rlct Of HEA

Case number 63"| gi')" q’;q"q’l' § MM / DD/ YYYY

(lf known)

Official Form 106J
Schedule J: Your Expenses

CaS€ 8-18-72971-38'[ DOC 12 Filed 05/15/18 Entei’ed 05/15/18 13244:4§4
l

C\ A supplement showing postpetition chapter 13
expenses as of the following date: '

v
l
l

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l
l
l
l
,

12I15l

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct

information. lf more space is needed, attach another sheet to this form. On the top of any additional pages,

(if known). Answer every question.

mescribe Your Househo|d

No. Go to line 2.

 
 

l
write your name and case numberl

 

 

 

 

 

 

 

 

   

 

 

 

l:l ¥es. Does Debtor 2 live in a separate househo|d? §
n No
n Yes. Debtor 2 must 'Hle Official Form 106J-2, Expenses for Separate Household of Debtor 2.
l
2. Do you have dependents? lla/No , -
Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and n Yes. Fill out this information for Debtor1 °r Debtor2 age § With y°"? l
Debtor 2. each dependent .......................... § I`.:| `
Do not state the dependents’ 1 l m No
names. ‘ l Yes
|;l No
l§;l Yes
§;l No §
§:l Yes
, l:l No‘
n Yes
m No
g Yes
3. Do your expenses include N f
o l
expenses of people other than n l
yourself and your dependents? Yes '
mitimate Your Ongoing Monthly Expenses §
s'e to report

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 ca

expenses as of a date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of the form and fill in the

applicable date.
include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule l: Your Income (Official Form 106|.)

4. The rental or home ownership expenses for your residence. include first mortgage payments and
~ any rent for the ground or lot.

if ‘not included in line 41

4a. Real estate taxes

45. Property, homeowner's, or renter’s insurance

4<:. l-lome maintenance, repair. and upkeep expenses

4d. Homeowner’s association or condominium dues

Ochial Form 106J Schedule J: Your Expenses

4a.
4b.
4c.

4d.

Your expenses

 

 

 

 

 

Ochial Form 106J

Case 8-18-72971-38'[ DOC 12 Filed 05/15/18 Entei’ed 05/15/18 13244:4.4

 

 

 

 

 

 

 

Schedule J: Your Expenses

 

Debtor1 \\DL.,M g MT:lM?»
Flrst Name Middle Name Last N§r"r'\é
5. Additional mortgage payments for your residence. such as home equity loans 5.
6. Uti|ities:
6a. Electricity, heat, natural gas 6a.
6b. Water,` sewer, garbage`collect§on 6b.
Sc. Telepltone, cell phone, internet, satellite, and cable services Bc.
6d. Other. Specify: 6d.
7. Food and housekeeping supplies 7.
8. Chiidcare and children’s education costs __ » ~. 8.
9. Ciothing, laundry, and dry clea`rjng'""' _ ` `#“ '_"`H "` :_ _
10. Persona| care products and services 10.
11. Medical and dental expenses 11.
12. Transportation. include gas, maintenance, bus or train fare.
Do not include car payments. ' 12.
13. Entertainment, clubs, recreation, newspapers, magazines, and books 13.
14. Charitable contributions and religious donations 14.
15. insurance. .
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. l_ife insurance 15a.
'15b. Health insurance 15b.
15c. Vehicle insurance 150.
15d. Other insurance.'Specify: 15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16.
17. installment or lease payments:
17a. Car payments for Vehicle 1 17a.|
17b. Car payments for Vehicle 2 17b.
17c. Other. Specify: 17c.
17d. Other. Specify: 17d.
'18. Your payments of alimony, maintenance, and support that you did not report as deducted from
your pay on line 5, Schedule I, Yourlncome (Official Form 106|). 18.
,19. Other payments you make to support others who do not live with you.
Specify: 19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your lncome.
20a. Mortgages on other property 20a.
20b. Real estate taxes 20b.
20e. Property, homeowner's, or renter’s insurance 20e.
20d. Mainlenance, repair, and upkeep expenses 20d.
209. Homeowner’s association or condominium dues 20e.

   

Case number (irknown) ?`/lg' ;?'7 ?:7'!

Your expenses _~

 

 

 

 

 

 

 

 

 

 

 

 

 

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$W”' 523/§
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$ -»/ 1
$ ./

$ L/

 

page 2

 

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Debtor 1

 

21. Other. Specify:

 

/

22. Calcu|ate your monthly expenses.
22a. Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2), it any, from Official Form 106J-2

220. Add line 22a and 22b. The result is your monthly expenses.

23. Calcu|ate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule l.

23b. Copy your monthly expenses from line 22c above.

230. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

);A,.

n YeS- § Explain here:
i

Official Form 106J - Schedule J: Your Expenses

Case number (ilknown) %V f g j?';$ girl '

21. +$

 

 

 

 

 

 

 

 

 

23c.

 

 

page 3

 

 

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Fill in this information to identify`your case:

Debtor 1 1 EL| M ,‘.l:LA-@JCEL-#

First Name Mlddle Name ' Last Name

Debtor 2
(SpOuSe, if filing) FirstName Midd|e Name LastName

United States Bankruptcy Court for them_)__ District Of § `_',

Case number ?’l q " ?L¢iq'l

(lf known)

 

Cl check ifthis is an
amended filing

 

 

Official Form 106Dec
Declaration About an lndividua| Debtor’s Schedules 12/15

 

 

lf two married people are filing together, both are equally responsible for supplying correct information.

¥ou must file this form whenever youl f'lle bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud m connection with a bankruptcy case can result' ln fines up to $250, 000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did yo ay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

No
n Yes. Name of person .Attach Bankruptcy Petition Preparer's Notice, Dec/aration, and
Signature (Ochial Form 119).

Under penalty of perjury, l declare that | have read the summary and schedules filed with this declaration and

X

ignature of Debtor1 Signature of Debtor 2

 

 

/
Date Date
MM/ DD Mi\/l/ DD / YYYY

.-,‘ .,._ ‘ ' M », _.\..¢ . , .=...`\. ,,.~"~.,~ ' .¢ ,.,~_ , v , ~ »“.. ;,,_-..~ »,A:“"_,~;“~¥.».~..ai . _ v

 

Official Form 1OSDec Dec|aration About an individual Debtor’s Schedules

 

 

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l l

_

Debtor1 OL,LDr 'E\,\$AF,W /,\-)"i . ’, _~ §

' Firsi Name Mlddle Name Last Name

Debtor 2 .

(Spouse, if filing) Firsl Name Middle Name Last Name

United States Bankruptcy Court for them District of h }M" > UB. L,((_./ l
tv

Case number if \'Z aug Ld§ 14 Cl C§heck if this is an

(lf known) y l
amended filing

 

 

foicial Form 107
Statement of Financial Affairs for lndividuals Filing for Bankruptcy 04/16

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case

number (if known). Answer every question. l
§

 

l

m Give Detalls About Your llllarltal Status and Where You leed Beforo

1. What is your current marital status?

Mrried

/D't\lot married

2. During the last 3 years, have you lived anywhere other than where you live now?

 

 

 

 

 

 

 

 

 

 

 

 

 

No
l:l Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
Debtor 1: Dates Debtor 1 Debtorl 2: Dates Debtor 2
lived there ' lived there
n Same as Debtor1 n Same as Debtor 1
From From
Number Street Number Street
To To
City State ZlP Code City State ZlP Code l
§;] Same as Debtor 1 in Same as Debtor 1
From ' Fr°m
Number Street Number Street
To To
City - State ZlP Code City _ State ZlP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
stat d territories include Arizona, Califomia, idahol Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

§ /
-'No i
3 m Yes. Make sure you till out Schedule H: Your Codebtors (OfEcia| Form 106H). `

>

maplain the Sources of Your lncome

 

dr
Ochial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 1

 

 

   

Debtor 1

    

Hrst Name Middle Name Last Name

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Case number (irknawn) ?`\“ 'S\’!"’ q 219§\9'\" ,

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities. _ j

 
 

1 filing a joint case and you have income that you receive together, list it only once under Debtor 1.

 

 

Sources of income
Check all that apply.

Wages, commissions,

n f c en ar nti|
FromJa uary1o urr tye u bonuses'“ps

the date you filed for bankruptcy: n o b
perating a usiness

n Wages, commissionsl

For last calendar year: ,
bonuses, tips

(January1 to December 31,Q § Z.lz l ) E|
YYYY

Operating a business

For the calendar year before that: ,
bonuses, tips

(January 1 to December 31,YYYYH2| 'Q') Cl operating a business

5. Did you receive any other income during this year or the two previous calendar years? -
include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Sociai Security,

 

Wages, commissions,

   

 

-§loebt¢§i 2 \` `\ . "

 

Gross income

(before deductions and
exclusions)

Sources of income
Check all that apply.

Gross income

(before deductions and
exclusions)

$ §§ (so-@

n Wages, commissions,
bonuses, tips
a Operating a business

853 q § n Wages.commissions, i
$ ' bonuses, tips_ $___ :
n Operating a business

m Wages, commissions,
bonuses, tips

$§D%O.IK

§:.l Operating a business

unemployment and other public benth payments: pensions; rental income; interest; dividends; money collected from |awsuits; royalties; and i

gambling and lottery winnings. lf you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

No
El Yes. i=iii in the detaiis.

 

i,m~` “`i . i_ :. “ "
;‘Debtord; ~ F ‘

Sources of income
Describe below.

From January 1 of current year until
the date you filed for bankruptcy:

".o'ebtg_r_‘z`;~" , ;q'j‘ - . :.f,. f < »':,.“5 §

§

l'""“"“i

Gros s income from

_ |
Sources of income §
each source §

l

\

Describe below.

Gross income from
each source

(before deductions and
exclusions)

 

(befo`re deductions and
exclusions)

 

For last calendar year: 4

 

(January 1 to December 31, )
YYYY

 

For the calendar year before that:

 

 

(January 1 to December 31, )
YYYY

ii

Official Form 107

Statement of Financial Affairs for lndividuals Fi|ing for Bankruptcy

 

 

 

 

 

page 2

 

 

 

j Case 8-18-72971-ast

Debtor1 0

lr t Name

Middle Name

Last ame

mild Certaln Payments You Made Before You Flled for Bankruptcy

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/ d Case number (irknow,i) g/ ix "’%:};Lq q/I

 

§ 6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

“incurred by an individual primarily for a personal, family, or household purpose."

 
 

ubject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

line 7.

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

z les. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as

child support and alimony, Also, do not include payments to an attorney for this bankruptcy case.

Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

n Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligationsl such as child support and

No. Go to line 7.

alimony, Also. do not include payments to an attorney for this bankruptcy case.

Creditor’s Name

Dates of Total amount paid Amount you still owe

payment

 

Number

, Street

 

 

City

State ZlP Code

 

 

Creditor's Name

 

Number

Street

 

 

city

State ZlP Code

 

Creditors Name

 

Number

Street

 

 

city

State ZlP Code

El No. Neither Debtor1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as

Was this payment for...

 

[;| Mortgage

n Car

q Credit card

m Loan repayment

[;l Suppliers or vendors

Cl other

 

m Mortgage

Ei §ai

m C§Jredit card

n Loan repayment

m Suppliers or vendors
m Other

n Mortgage

m Car

l;l credit card

n Loan repayment

m Suppliers or vendors

n lOther

 

Official Form 107

Statement of Financial Affairs for individuals Filing for Bankruptcy

page 3

 

 

/`
Debtor 1
Firsl Name Midd|e Name Last ame

Case 8-18-72971-ast

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i
i

Case number (ilknawn) jt ’ l§< "' `q',qu’ l

: 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?

/nsiders include your reiatives; any general partners; relatives of any general partners; partne

rships of which you are a general partner;

corporations of which you are an ocher, director, person in controll or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. include

Yes child support and alimony,
§ No

n Yes. List all payments to an insider.

payments for domestic support obligations,

 

Reason for this ,, _, ‘

 

 

 

 

 

 

Dates of Total amount Amount you still
payment paid owe
$ $
insiders Name
Number Street
city state ziP code
$ $

 

insiders Name

 

Number Street

 

 

City

State ZlP Code

 

 

 

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited

an insider?

§ include ayments on debts guaranteed or cosigned by an insider.

§ No

 

 

 

 

 

 

El Yes. List ali payments that benehted an insider.
Dates of Total amount Amount you still Reason for this payment
payment pa'd owe include creditor’s name
insiders Name $ $
Number Street §
City State ZlP Code
$___ $

 

 

insiders Name

 

Number Street

 

 

Ochial Form 107

 

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Statement of Financial Affairs for individuals Filing for Bankruptcy

 

~ »_e..» mr am t.`._c M..W~. usa .¢-

page 4

 

 

Debtor 1

i
m

 

t

 

i

Case 8-18-72971-ast

i\§,bu¢ EMLAM+'

First Name Midttie Name Last Name

§ 9. Within 1 year before you filed for bankruptcy,

- §andc tractdisputes.
j /a{

El Yes. Fiii in the detaiis.

§ 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, se:zed, or levied?

i

Nature of the case

/iitA(‘i/BW

ldentlfy Legal Actlons, Repossesslons, and Foreclosures

Court or agency

 

Case title

 

Case number

 

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Case number (irkiicwn) ?"/l g -$q';%q'{

were you a party in any lawsuit, court action, or administrative proceeding?
List ali such mattersl including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,

 

Status of the case

 

 

 

 

Case title

 

 

Case number

 

 

 

 

 

 

 

Check ali that apply and fill in the details below.

Go to line 11.

lIl N .
/Zés. Fill in the information below.

Official Form 107

i/\/Si”o(‘

Creditcir's Name

Describe the property

 

MQ\’/szt

 

Number Street

 

 

City State ZlP Code

 

Creditors Name

 

Number Street

 

 

City State ZlP Code

Hou>e w

\».y<, vt cowan €0,

 

 

 

Explain what happened

L_.l P perty was repossessed.
M:perty was toreciosed.
n Property was garnished.

n Property was attachedl seized, cr levied.

Describe the property

 

Date

 

 

 

 

Explain what happened

Property was repossessed.
Property was foreclosed.
Property was garnished.

DU[JU

Property was attached, seized, or levied.

Statement of Financial Affairs for individuals Filing for Bankruptcy

Date

iii»§ar.t t/

Court Name §u Pendmg §
m On appeal
i §
Number Street m Conciuded
§
city state ziP code '
Court Name § Pend|ng §
m On appeal
Number Street :l Concluded
City State ZlP Code

Va|ue of the property §

acts $_L@@@teb§

 

\§la|ue of the property

6b

j ,` CaS€ 8-18-72971-38'[ DOC 12 Filed 05/15/18 Entered 05/15/18 13244: 4

t
Debtor1 Case number (ilknown) S/" l g ’ ?LS q l

Ft st Name Mtddle Name Last Name

_______ l
l
l
l l
11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
;Y\mts or refuse to make a payment because you owed a debt?
N

0
El Yes. Fill in the detaits.

 

 

 

 

 

 

 

 

f Describe the action the creditor took Date action An ount
. was taken
Creditors Name §
l $
Number Street
l
§ City State ZlP Code Last 4 digits of account number: XXXX-

1‘ 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

n No
m Yes

mist Certain Gifts and Con¢ributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

No
n Yes. Fill in the details for each gift.

 

 

 

 

 

 

 

 

 

 

 

 

 

Glfts with a total value of more than $600 Describe the gifts Dates you gave Va|ue
jj per person the gifts
1 _ ___ $
§ Person to Whom You Gave the tht
$
Number Street
; city State zlP code
§ Person's relationship to you ` §
3 l
g Gifts with a total value of more than 5600 Describe the gifts Dates you gave Va|ue
g per person » the gifts
9 s
§ Person to Whom You Gave the Gift
$
l

 

 

Number Street

 

City State ZlP Code

 

j v
l Person’s relationship to you .

 

 

 

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 6

 

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/` , , , f
Debtor1 M 64 MS@WYT § l-\'AM Case number (ifknawn) 3`/ |g ' ?Lq q {

Fl tName Middle Name Last Name

 

 

` 14.,?{ years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
_» No
_U Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities Describe what you contributed Date you Va|ue

that total more than $600 contributed
t

Charity's Name
5

 

 

Number Street

 

City State ZlP Code

List Certain Losses

§ 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire
disaster, or gambling?

No
Ei Yes. Fill in the details

include the amount that insurance has paid. List pending insurance
claims on line 33 of Schedule A/B: Property.

 

l
!
§

 

 

 

§: ~
§ .

~, other

Describe the property you lost and Describe any insurance coverage for the loss Date of your Va|ue of property
how the loss occurred loss lost

 

 

msi Certain Payments or Transfers
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

 

 

 

 

 

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any propertyt> anyone

 

 

 

 

 

No
D Yes. Fill in the detaiis.
Description and value of any property transferred ~ Date payment or Amount of payment
transfer was
Person Who Was Paid y made
Number Street $
__ $
City State ZlP Code
l :
Emai| or website address § z
l 1
Person Who Made the Payment, if Not You ` t
l

 

Official Form 107 . Statement of Financial Affairs for individuals Filing for Bankruptcy

page 7

 

 

 

x CaS€ 8-18-72971-38'[ DOC 12 Filed 05/15/18 Entel’ed 05/15/18 13244: 4

z

lr‘st Namd Middie Name

Debtor1 L\OKAA’ w 7/;\{7@1 Llni;\"/\’&(- p/@-/ Case number (ilknown) 3 " l g’ ?LQ j l

 

Description and value of any property transferred Date payment or
transfer was made

 

 

Person Who Was Paid

 

Number Street

 

 

City State ZlP Code

 

Emaii or websiie address

 

Person Who Made the Payment. if Not You

 

 

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
promised to help you deal with your creditors or to make payments to your creditors? `
Do not include any payment or transfer that you listed on line 16.

 

 

 

 

 

 

 

 

;Amount of
payment

anyone who

 

No
El Yes. Fill in the details
Description and value of any property transferred Date payment or Amount of payment
transfer was
, made
Person Who Was Paid '
N § 5
umber Street

$

city state ziP code l

§ 18. Within 2 years before you filed for bankruptcy, did you se|i, trade, or otherwise transfer any property to anyone, other than property

transferred in the ordinary course of your business or financial affairs?

§ include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).

Do n include gifts and transfers that you have already listed on this statement.
No
Cl Yes. Fiii in the detaiis.

Description and value of property Describe any property or payments received
transferred or debts paid in exchange '

Date transfer
was made

 

 

Person Who Recelved Transfer

 

Number Street

 

 

City State ZlP Code

 

Person's relationship to you

 

 

§ Person Who Recelved Transzr

 

 

Number Street

 

 

 

 

City State ZlP Code

 

 

Person's relationship to you

Ochiai Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy

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Dt,i°\’

Firsi Name

Debtor 1
Middle Name

l

/'

Last Name

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Case number (irknawn) gi l g " Yq’:zc} 91

§ 19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trustor similar device of which you

are a

No
n Yes. Fill in the details.

neficiary? (These are often called asset-protection devices.)

Description and value of the property transferred

Date transfer
was made

 

 

|

l

Name of trust `
l

 

 

1a Certain Financial Accounts, lnstrumonts, Safe Daposlt Boxos, and Stomgo Uni¢s

 

ciosed, so|d, moved, ortransferred?

broke

No
El Yes. Fiii in the detaiis.

Last 4 digits of account number

 

Name of Financial institution

 

 

 

 

 

 

 

secu 'ties, cash, or other valuables?
No
El Yes. Fiii in the detaiis.

XXXX-__ __ _ _
Number Street
City State ZlP Code
XXXX-_ _ _ _
Name of Financial institution
Number Street
City State Z|P Code

Who else had access to it?

 

Name of Financial institution

Type of account or Date account was

instrument ciosed, soid, moved,
or transferred

Ci checking

n Savings

n Money market
n Brokerage
Q\Q:ns:,__ _,

n Checking

n Savings

n Money market
n Brokerage

n Other

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository

Describe the contents

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,

include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unicns,
e houses, pension funds, cooperatives, associations, and other financial institutions.

Last balance before
closing or transfer

 

for

Do you still
have it?

 

11

 

 

 

 

 

 

 

 

Official Form 107

Name
Number Street Number Street
City State ZlP Code
City State ZlP Code 1

Statement of Financial Affairs for individuals Filing for Bankruptcy

lDNo
‘UYes
l

 

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Debtor 1

 

Case number (irkmvwn) j/, Y’ qlq\? f

 

 

 

 

 

 

 

22. Have u stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No
i'_`l Yes. Fiii in the detaiis.
Who else has or had access to it? Describe the contents Do you still
have it?
l :
§ . n No j
Name of Storage Faclllty Name 1 m Yes
Number Street Number Street !
1
citystate ziP code ‘ l
l
c;tv. ,… l ,,~ 1 ~_,.-§tatt., ,ztr.¢,ette._ . _ ,_ …_ _l . ~- ,, , _`~__ct_.m.tc§WW.“…~._. m….,,W. m - 1 1 `lw_.~,...~.v …_
Part 9: identify Property You l'lold or control for Somoono Eioo l
23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for,
or hold in trust for someone.
No
Ei Yes. Fiii in the detaiis.
Where is the property? Describe the property Vaiue

 

 

Owner’s Name

 

 

" L Street |
Number Street l

 

 

 

 

City State ZlP Code '

 

City State ZlP Code

 

 

 

Part 10: leo Detalls About Envlronmontal information

 

j For the purpose of Part 10, the following definitions apply:

i t
j l Environmental law means any federa|, state, or local statute or regulation concerning pollutionl contamination, releases of §
‘ hazardous or toxic substances, wastes, or material into the air, |and, soii, surface water, groundwater, or other medium, .

including statutes or regulations controlling the cleanup of these substances, wastes, or materia|.

§ Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or

utilize it or used to own, operate, or utilize it, including disposal sites.

E Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
` substance, hazardous materiai, pollutant, contaminant, or similar term.

2`

§ Report all notices, reieases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental iaw?

No
Yes. Fill in the detai|s.

Date of notice

 

 

 

 

 

Governmentai unit Environmental law, if you know it
§
t
ii Name of site Govemmentai unit §
‘. l
§ Number Street Number Street
§ my

 

 

, City State ZlP Code

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy

 

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Debtor 1

 

Firsi Name Middle Name

§ 25. Have you notified any governmental unit of any release of hazardous material?

n No
n Yes. Fill in the detai|s.

LES\ Name

Governmental unit

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Case number (irknawn)

Environmental law, if you know it Date of notice

 

 

 

 

 

 

Name of site Govemmenta| unit ,
1
|
Number Street Number Street
City State ZlP Code

 

State

 

ZlP Code

26.Have you been a party in any judicial or administrative proceeding under any environmental iaw? include settlements and

orders.

 

1
1

n No
El Yes. Fill in the details.

Court or agency

 

 

 

Case tltie___.___
Court Name
Number Street
Case number guy state zlP code

Give Details About Your Buslness or Connectlons to Any Business

Nature of the case

l
l
l
l
l
§
l
l

Status of the
‘ case

l
1
a Pendlng

m On appeal

n Conciuded

 

i
1
§
z

 

27. Within 4 years before youl filed for bankruptcy, did you own a business or have any of the following connections to any b,lsiness?

n A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
n A member of a limited liability company (LLC) or limited liability partnership (LLP)

n A partner in a partnership
n An officer, director, or managing executive of a corporation

n An owner of at least 5% of the voting or equity securities of a corporation

cl No. None of the above applies. Go to Part 12.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Oft"lcial Form 107

 

 

 

Statement of Financial Affairs for individuals Filing for Bankruptcy

n Yes. Check all that apply above and fill in the details below for each business.
Describe the nature of the business Employeridentification number
Do not include Sociai Security number or lTiN.
Bus|ness Name
ElN: ___-____________
Number Street
Name of accountant or bookkeeper Dates business existed
From To
,,.ELWW - . _.§tet°.,.v .Z.l!?.§?‘!§ _ .. ,
Describe the nature of the business Emp|oyer ldentitication»number
Do not include Sociai Security number or lTiN.
Business Name
ElN: _____-________
Number Street .:
Name of accountant or bookkeeper Dates business existed ;
l
From To =
c11y state zlP code ;

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Debtor1 ' Case number (irknow”)
Flrsl Name Middle Name Last Name

 

Emp|oyer identification num er
Do not include Sociai Security lnumber or lTiN.

 

Describe the nature of the business

 

 

 

 

 

 

 

Buslness Name 1
45 ElN.__-__________.___
N“'“b°" s"°°' Name of accountant or bookkeeper Dates business existed
From TO _____
City State ZlP Code

 

 

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include all financial
institutions, creditors, or other parties.

m No
Ei Yes. Fill in the details below.

Date issued

 

Name MM / on / YYYY

 

Number Street

 

 

 

City State Z|F Code

m,..»,..w ;

 

l have read the answers on this Statement of Financial Affairs and any attachments, and l declare under penalty of perju`ry that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or p'operty by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571. ‘

x ` 1 x

Signature ot Debtor 1 Signature of Debtor 2

Date 032 l § ZZ¢?/ Q Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

 

 

 

No
n ¥es
Did pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
No
Cl Yes. Name of person . Attach the Bankruptcy Petition Preparefs Notice,

 

Declaration, and Signature (Official Form 119).

 

 

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 12

 

 

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l.‘r~

Fill irl this information to identify your case:

Debtor 1 v Eb| M /l`LLAQK@¢’__-

Flrst Name Middle Name Last Name

Debtor 2
(Spt)u$e if iiiing) First Name Middle Name Last Name

United States Bankruptcy Court forthe@§UQ_ DiStn'Ct Of hi j

ease number §§ c \$§ , '-\LQ:l-_{ Ci Check lfthls ls an

(11 known) v amended filing

 

 

 

Official Form 108
Statement of intention for individuals Filing Under Chapter 7 12/15

 

lf you are an individual filing under chapter 7, you must fill out this form if:
l creditors have claims secured by your property, or

l you have leased personal property and the lease has not expired.

You must t‘ le this form with the court within 30 days after youl tile your bankruptcy petition or by the date set for the meeting of creditors,
whichever' ls earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.

 

if two married people are filing together' ln a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

mist Your Creditors Who Have Secured Claims

z l l
1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the §
information below.

 
 
 

identify the credltor and the property that is collateral »_ What do you int
’ »' secures a deb_

 

_ l
Creditors H§b a 0 Surrenderthe property. la NO
nar_r_re: l
` n Retain the property and redeem it. IQ'Yes
gre§::$$mn of E/Retain the property and enter into a
Reaffirmation Agreement. `;

securing debt:
_Cl Retain the property and [exp|ain]:

 

 

HW jet/rf liH/ lmme (L_YMO léo¢v. Mhn_ !1)`,,[ f
Cred't°r$ C| § Cl Surrenderthe property. in No

name,
m »W w …>_wm'ew…”¥ mm"mw”mm"» m Retain the property and redeem lt. 2485

E/Retain the property and enter into a
Reah'irmation Agreement.

 

Description of

property

securing debt:
m Retain the property and [exp|ain]:

 

 

asylm,.mc;vutce@m~@m,.mm¢m/»{

g;erz:itor’s Cl Surrenderthe property. n NO
e:

y -» - » ' ’ ' l___| Retain the property and redeem it. m YeS'
Description of
property
securing debt:

n Retain the property and enter into a
Reaermation Agreement.

z

Cl Retain the property and [exp|ain]: =;

 

 

 

g;€r%rf\i;Or’S n SulTender the property. n l n NO
… " ' " ' ' ” " ' El Retain the property and redeem it. ? m Yes
Description of
property

securing debt:

n Retain the property and enter into a
Reafmrnation Agreement.

n Retain the property and [exp|ain]:

 

Official Fnrm 108 Statement nf intention for individuals Filinn Under Chanter 7 f name 1

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`\; 1

/
Debtor1 1 Case number (llknown)
First Name idd|e ame Last ama

m List Your Unexpired Personai Property Leases

" For any unexpired personal property lease that you listed irl Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066),
fill in the information below. Do not list real estate ieases. Unexpired leases are leases that are still in effect; the lease period has not yet §
t ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2). :`

 

   

Describe your unex:p'ir:¢d*.pers'dna|:Rroiperty |,`a'aéeg;.:;`::_. 7 - "~ ~' : ::Z_Wi.|'|T-thé;|e,é- zw

 

Lessor's name: n NO

 

Description of leased m es ..
property:

 

Lessor's name: |;l No

n Yes l
Description of leased ;
property:

 

:Lessor’s name: [:| No

Description of leased m Yes
property:

 

Lessor's name: n NO

.~__. ,.,..,_1._~¢_,,,.~.-.»-- 11 …\ l ~.~_...._~_».»..»_-. ..-et .~ ... -,A_sehe m Yes

:e_-~ -..-=-,. ,' s »,» ¢.¢_.W,-,w ..~.;.( sss ~_ ».-. .~:: .~mee.w.t,_-,,».., yes -.a»-_~,...-..-.-.

Description of leased
property:

 

 

Lessor's name: E| NO

' ‘ ' ElYes f .
Description of leased
property: - .:

~-..'»»-.~_-T~ . ~.' -~ ~ ~v-_~,» rv._s.-.U,~.~»t ,,»~-.-~_ s ..,-..-_»,;,.~ .,~~,-,».-_-- m-r»».~<;~. »-…. m--. .-_ » .; »,~~..-,-,--;-,.`, ~_»..». »» -~ . .~,.-1¢»_"» _`..-.-..-»t~ ~-m..~, le~L-.~.-;-.v-.<~-,'.- -`.\»--» -: -.'.--

 

Lessor's name: |;| NO

. . . . .. ~_ _ ,/ … UYeS
Description of leased
property:

 

Lessor’s name: El No §

. - s ./ _..-"/,s,~, ~~ .»~. .»c ». ». . _. vs ~ ., , ,.. ¢. .. - ~_., .….¢ e..`_, :.,».,~,-,.__v,,.,…~.. _-_¢,..-,, …..,,-:,-__,»a m Yes 11
Description of leased
property:

m Sign Beiow

l Under penalty of perjury, l declare that l have indicated my intention about any property of my estate that secures a c ebt and any
l personal property that is subject to an unexpired lease.
` 1

l

 

 

X ` X §

Signature of Debtor1 Signature of Debtor 2
. /
Date Date
lvl / DD YYYY Nllvl/ DD/ YYY¥

\ Oflicial Form 108 - Statement of intention for lndividua|s Filing Under Chapter 7

 

 

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